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ATTORNEY FOR: VANESSA MARIN MOJARRO CAMERON




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF CALIFORNIA


      UNITED STATES OF AMERICA,                       CASE NO. 1:11-cr-00354-LJO
                    Plaintiff,
                                                      WAIVER OF DEFENDANT'S
                        v.                            PERSONAL APPEARANCE
 VANESSA MARIN MOJARRO CAMERON,
                   Defendant.

       TO: THE UNITED STATES DISTRICT COURT; UNITED STATES ATTORNEY'S

OFFICE and/or ITS REPRESENTATIVES:

       The Defendant, VANESSA MARIN MOJARRO CAMERON, having been advised of her

right to be present at all stages of proceedings, including, but not limited to, presentation of and
arguments on questions of fact and law, and to be confronted by and to cross-examine all
witnesses, hereby waives the right to be present at the hearing on any motion or other proceeding
in this case. Examples of hearing concerning which the defendant waives the right to be present
include when the case is set for trial, when a continuance is ordered, when a motion to set aside
an indictment is heard, during a plea or change of plea, during a sentencing or any case
disposition, when a motion for reduction of bail or for a personal recognizance release is heard.
       The undersigned Defendant requests the Court to proceed during every absence of the
Defendant that the Court may permit pursuant to this waiver, and hereby agrees that her interest
is represented at all times by the presence of her attorney the same as if the Defendant were
personally present in court a further agrees that the notice to Defendant's attorney that


                                                  1
                      [DEFANDANT'S WAIVER OF PERSONAL APPEARANCE ]
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Defendant's presence in court on a particular day at a particular time is required is notice to the
Defendant of the requirement of Defendant's appearance at the time and place.


Dated: February 17, 2012                          _/s/_Vanessa Marin Mojarro Cameron
                                                  VANESSA MARIN MOJARRO CAMERON
                                                  (original signature on file with counsel)


                                                  /s/ GalateaDeLapp_________________
                                                  GALATEA DeLAPP
                                                  Attorney for VANESSA MARIN MOJARRO
                                                  CAMERON



                                              ORDER




IT IS SO ORDERED.

   Dated:     February 21, 2012                                           /s/ Lawrence J. O’Neill
                                                  DEAC_Signature-END:
                                                                        UNITED STATES DISTRICT JUDGE

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                      [DEFANDANT'S WAIVER OF PERSONAL APPEARANCE ]
